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   RED LION HOTELS
 9 FRANCHISING, INC.
10                                      UNITED STATES DISTRICT COURT
11                                  EASTERN DISTRICT OF CALIFORNIA
12
13 RED LION HOTELS FRANCHISING,                        Case No. 2:18-mc-00161-TLN-DB
14 INC.                                 NOTICE OF MOTION AND
15                 Plaintiffs,          MOTION FOR ORDER
                                        CHARGING DEBTORS’
16          vs.                         MEMBERSHIP INTEREST IN
                                        TWO WHOLLY OWNED
17   FIRST CAPITAL REAL ESTATE,         LIMITED LIABILITY
     INVESTMENTS, LLC, a California     COMPANIES AND ASSIGNING
18   limited company; SUNEET SINGAL and ASSETS; MEMORANDUM OF
     MAJIQUE LADNIER, individually and  POINTS AND AUTHORITIES IN
19   as the marital community comprised SUPPORT THEREOF;
     thereof,                           DECLARATION OF ROCHELLE
20                        Defendants.   WILCOX AND EXHIBITS A–Z

21                                                     Date:      August 9, 2019
22                                                     Time:      9:30
                                                       Courtroom: 27
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     MOTION FOR CHARGING ORDER
     4828-3306-8698v.5 0088456-000079
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that on August 9, 2019, at 9:30 a.m., or as soon
 3 thereafter as the matter may be heard, in Courtroom 27 of the above-captioned court,
 4 located at 501 I Street, Sacramento, California 95814, Plaintiff Red Lion Hotels
 5 Franchising, Inc. (“Red Lion”), the judgment creditor in this matter, will and hereby
 6 does move, pursuant to California Code of Civil Procedure sections 708.310 through
 7 708.320 and California Corporations Code sections 15907.03 and 17705.03, for an
 8 order:
 9            (1)       Charging the membership interest of judgment debtor Suneet Singal
10 (“Singal”), including any interest held through the Ladnier-Singal Trust, dated
11 December 14, 20151 (the “Trust”), in the limited liability corporation First Capital
12 Master Advisor, LLC (“FCMA”) with payment of the unpaid balance of the judgment
13 entered in this action; and Charging the membership interest of judgment debtor
14 Majique Ladnier (“Ladnier”), including any interest held through the Trust, in the
15 limited liability corporation FCMA with payment of the unpaid balance of the
16 judgment entered in this action;
17            (2)       Directing FCMA and all members thereof to pay any distributions due
18 or to become due to Singal, Ladnier, or the Trust directly to Red Lion until the amount
19 remaining due on the judgment, plus all accrued interest and post-judgment costs
20 thereon, is paid in full;
21            (3)       Charging the membership interest of judgment debtor Singal, including
22 any interest held through the Trust, in the limited liability corporation SRS, LLC
23 (“SRS”) with payment of the unpaid balance of the judgment entered in this action;
24
25            1
            The evidence shows that Singal and Ladnier transferred their interests in the
   Limited  Liability Companies at issue into the Trust, which is revocable. Assets held
26 in a revocable trust are reachable as if they were held by the debtors in their individual
   capacities  pursuant   to California Probate Code section 18200. As Red Lion
27 establishes below, a purported   amendment to the Trust created by Singal and Ladnier
28 document fraudulently created incourts
   is voidable  – as two   California         already have held – as it is an invalid trust
                                       an attempt to shield assets from creditors.

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 1 and Charging the membership interest of judgment debtor Ladnier, including any
 2 interest held through the Trust, in the limited liability corporation SRS with payment
 3 of the unpaid balance of the judgment entered in this action;
 4            (4)       Directing SRS and all members thereof to pay any distributions due or
 5 to become due to Singal, Ladnier, or the Trust directly to Red Lion until the amount
 6 remaining due on the judgment, plus all accrued interest and post-judgment costs
 7 thereon, is paid in full; and,
 8            (5)       Assigning to Red Lion (a) the interest of FCMA in the $25,000,000
 9 payment obligation on a loan from StHealth Capital Partners Group, LLC and (b) the
10 interest of SRS in shares of Growth Properties, Inc., until the amount remaining due
11 on the judgment, plus all accrued interest and post-judgment costs thereon, is paid in
12 full.
13            This Motion is made on the grounds that Red Lion is informed and believes
14 that (1) Red Lion has secured an enforceable judgment against Singal and Ladnier;
15 (2) that judgment was registered before this Court on October 25, 2018; (3) Singal
16 and/or Ladnier hold an interest, through the Trust, in FCMA; and (4) SRS is a wholly
17 owned subsidiary of FCMA.
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 1            This Motion is based on this Notice of Motion, the Memorandum of Points and
 2 Authorities, and Declaration of Rochelle Wilcox and exhibits, Declaration of Nate
 3 Troup and Request for Judicial Notice attached hereto, the pleadings, records and all
 4 other documents on file herein, as well as such oral argument as may be presented at
 5 the hearing of this matter.
 6
 7 DATED: July 2, 2019                        DAVIS WRIGHT TREMAINE LLP
                                              MARY H. HAAS
 8                                            ROCHELLE WILCOX
                                              MATTHEW C. ONYETT
 9
10
11                                            By:       s/Rochelle L. Wilcox
12                                                          Rochelle Wilcox
                                                 rochellewilcox@dwt.com
13
14                                               Attorneys for Plaintiff
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15
                                                 INC.
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     MOTION FOR CHARGING ORDER
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 1                        MEMORANDUM OF POINTS AND AUTHORITY
 2                                      I.   INTRODUCTION
 3            Red Lion Hotels Franchising, Inc. (“Red Lion”) obtained a judgment for
 4   $1,297,765.58 plus interest against Defendants Suneet Singal (“Singal”) and Majique
 5   Ladnier (“Ladnier”) in September 2018. Singal and Ladnier have not made any
 6   payments to satisfy the judgment. Thus, under clear California law (which applies
 7   here), Red Lion is entitled to an order charging Singal and Ladnier’s interests in any
 8   entities that they may own or control. Section III.A, infra.
 9            After diligent efforts to collect the judgment, Red Lion has learned that Singal
10   and Ladnier control substantial assets through two limited liability companies held
11   by the Ladnier-Singal Trust, a revocable family trust Singal and Ladnier established
12   on December 14, 2015 (the “Trust”). Red Lion seeks an order charging their
13   membership interest in those LLCs – First Capital Master Advisor, LLC (“FCMA”)
14   and SRS, LLC2 (“SRS”). Red Lion understands the Trust assets include a $25 million
15   receivable note, payable by StHealth Capital Partners Group, LLC to FCMA, in
16   addition to shares in a real estate investment trust (REIT) held by SRS, which are
17   estimated to be worth roughly $4.8 million.
18            In a thinly disguised effort to prevent collection efforts by their many judgment
19   creditors, Singal and/or Ladnier recently presented documents purporting to have
20   converted the revocable Trust into an irrevocable trust (“Trust Amendment”) on the
21   very same day that they originally created the Trust. Yet, that purported Trust
22   Amendment was not fully executed until years later; it was notarized in January 2019,
23   just as Singal and Ladnier were starting to fight off their creditors in earnest. As
24   California courts in Sacramento and San Mateo found the putative Trust Amendment
25   was nothing more than an attempt to fraudulently shield the assets from creditors, and
26   it is void. Sections III.B, III.C, infra.
27
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28
           As explained infra, SRS is a wholly owned subsidiary of FCMA whose sole
     member is the Trust.
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 1            Red Lion’s research has disclosed more than twenty judgments against Singal.
 2   The holders of at least two of those judgment have sought and received charging
 3   orders in California Superior Courts against the two LLCs at issue here. See
 4   Declaration of Rochelle Wilcox (“Wilcox Decl.”), Exs. R, T. In those cases, the
 5   Superior Courts found that the LLCs were reachable by charging order. Id.
 6            Red Lion asks this Court to do the same. In an effort to collect upon its
 7   enforceable judgment, Red Lion respectfully requests an order from this Court
 8   charging Singal and Ladnier’s interests in FCMA and SRS, held through the Trust,
 9   as a means to satisfy the judgment against them. Section III.D, infra. In addition,
10   Red Lion requests that the Court assign FCMA and SRS’s interests in their assets to
11   Red Lion, to the extent necessary to satisfy its judgment. Section III.E, infra.
12                          II.         RELEVANT BACKGROUND SUMMARY
13   A.       Red Lion’s Judgment
14            In February of 2015, Red Lion entered into franchise license agreements with
15   Singal and Ladnier (through various entities) for the operation of three hotels. Wilcox
16   Decl., Ex. V at ¶¶ 10-14.3 Singal and Ladnier personally guaranteed the sums owed
17   under the agreements. Id. at ¶ 25. Shortly after entering into the agreements, the
18   entities began to fall behind in the payments owed to Red Lion; a trend which
19   continued despite Red Lion’s accommodation. Id. at ¶ 27. By November 2016, the
20   three entities together were more than $500,000 behind on payments to Red Lion and
21   it was determined the hotels were no longer operating (id at ¶¶ 28-29), despite the
22   fact that neither Singal, Ladnier nor their entities had provided any notice that hotel
23   operations would be discontinued (id. at ¶ 30).        Shortly thereafter, Red Lion
24   terminated the agreements. Id. at ¶¶ 31-32. Singal, Ladnier, and the various entities
25   operating the hotels failed to make payments on the amounts due as a result of the
26
              3
27
           The facts explaining the underlying case that led to the judgment in this matter
   derive from Red Lion’s motion for summary judgment in that case. Wilcox Decl.,
   Ex. V. These statements are provided for context and are not offered as evidence in
28 support of this motion.

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 1   termination. Id. at ¶ 33. Red Lion was forced to sue to enforce its rights under the
 2   franchise license agreements and the personal guarantees signed by Singal and
 3   Ladnier.
 4            As a result of the litigation, Red Lion obtained a judgment for $1,297,765.58
 5   plus interest against Singal, Ladnier, and First Capital Real Estate Investments, LLC
 6   (“FCREI”) on September 6, 2018, in the United States District Court for the Eastern
 7   District of Washington (the “Judgment”). Wilcox Decl., Ex. A. On October 25,
 8   2018, the Judgment was registered in this Court pursuant to 28 U.S.C.A. § 1963.
 9   Wilcox Decl., Ex. B. On March 6, 2019, writ of execution of the Judgment was
10   obtained in this court. Wilcox Decl., Ex. C.
11            Red Lion has taken considerable efforts to attempt to collect on the judgment.
12   Counsel took the Debtor Examination of Singal and Ladnier in an attempt to locate
13   assets. Wilcox Decl., Exs. E, F. Each subpoena included document demands that
14   Singal and Ladnier have largely ignored. Wilcox Decl., ¶¶ 7, 8 & Exs. E, F. As of
15   the time of filing this motion – nearly a year since entry of the judgment – no payment
16   has been made on the judgment. Declaration of Nate Troup, ¶ 3.
17   B.       The Ladnier-Singal Trust
18            On December 14, 2015, Singal and Ladnier created the Trust. Wilcox Decl.,
19   Ex. H. Singal and Ladnier were the sole Trustees of the Trust at the time of its
20   formation. Each reserved the right to revoke the Trust at any time, without obtaining
21   the consent of or giving notice to any beneficiary. Id. at ¶ 2.5. Singal and Ladnier
22   maintained the right to appoint and remove trustees and to direct and approve the
23   trustees’ actions. Id. at ¶ 2.5, 2.6. Singal and Ladnier had the unrestricted right to
24   transfer or dispose of any asset transferred to the Trust, including withdrawing any
25   Trust asset and restoring ownership to themselves. Id. at ¶ 2.3. On December 14,
26   2015, the Trust document was notarized by notary public Barbara Angellini. Id.
27            Another judgment creditor, JFURTI, LLC (“JFURTI”), is aggressively
28   pursuing Singal and Ladnier in an attempt to recover a substantial judgment, in an
                                                                        DAVIS WRIGHT TREMAINE LLP
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 1   action pending in Sacramento Superior Court (the “JFURTI Litigation”). See Wilcox
 2   Decl., Ex. J. In an apparent reaction to that litigation, Singal and Ladnier recently
 3   argued the Trust is actually irrevocable and therefore a charging order may not reach
 4   its assets. Wilcox Decl., Ex. N. For the first time – so far as Red Lion can ascertain –
 5   Singal produced a document titled “Amendment to the Ladnier-Singal Trust.”
 6   Wilcox Decl., Ex. I.4 The Trust Amendment purports to convert the Trust into an
 7   irrevocable trust, while adding two new purportedly “independent” trustees: Stephen
 8   Michael Goodwin and Jeanine DeVries.              Wilcox Decl., Ex. I.          They are not
 9   independent. Goodwin is a friend and business partner of Singal. Wilcox Decl.,
10   Ex. M. DeVries is Ladnier’s mother. Wilcox Decl., Ex. M. The putative Trust
11   Amendment is dated the same date as the original Trust document, December 14,
12   2015; however, the Trust Amendment was notarized on January 31, 2019 – after the
13   judgment in this case and the other cases were obtained – by notary public Cynthia
14   Campbell. Wilcox Decl., Ex. I.
15            Ladnier, however, has testified that the Trust is, in fact, revocable, attesting:
16                      Q: Who is the trustee of the trust?
                        A: So, we’re the—we, we have—we’re the trustees.
17                      Q: Is it a revocable or irrevocable trust?
                        A: Revocable.
18
     Wilcox Decl., Ex. L at 91:13-93:3.5
19
     C.       Singal and Ladnier’s Current Financial Situation
20
              Despite the number of judgments against the couple, Singal and Ladnier live a
21
     lavish lifestyle. Ladnier testified that she continues to employ a gardener and pool
22

23            4
              Despite numerous attempts by Red Lion, Singal and Ladnier have steadfastly
24   refused to produce the Trust documents. Partial trust documents were provided in
     opposition to a post-judgment motion in the Burns Litigation. Wilcox Decl., Ex. W.
25   Counsel for Singal represented that he would provide complete copies of the Trust
     documents to counsel at Singal’s debtor’s examination but requests since the
26   examination have been ignored. Wilcox Decl., Ex. F at 26:22-24 (“And, Counsel,
     you’re going to provide me the trust document. [Counsel for Singal] Yes ma’am.”);
27   see also Exs. H, I.
            5
28
               Ladnier is an active member of the California bar who presumably
     understands the concept of a revocable trust. Wilcox Decl., Ex. G at 8:3-24.
                                                                            DAVIS WRIGHT TREMAINE LLP
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 1   person, and that two of her children attend private school for approximately $1,300
 2   per month. Wilcox Decl., Ex. L at 26:23-29:12.6 Singal and Ladnier manage to live
 3   this lifestyle despite purportedly not having any bank accounts or income. Id.
 4   Ladnier also testified that she pays $650 to her mother each month to make her car
 5   payments. Id. at 32:12-33:25. Singal testified that while he no longer has his
 6   Maserati, he drives a leased Mercedes that costs approximately $2,200 per month
 7   that his “buddies” pay. Wilcox Decl., Ex. F at 44:15-45:22.
 8   D.       The Trust’s Holdings
 9            1.        First Master Capital Advisor, LLC
10            The Trust is the sole member of FCMA. Wilcox Decl., Ex. F at 14:19-26:8;
11   see also Wilcox Decl., Ex. Q at p. 329-31 (FC Global S-4 SEC filing, identifying the
12   Trust as the owner7), 205-206 n.10). On March 1, 2018, interest in FCMA was
13   transferred to the Trust. Wilcox Decl., Ex. Z. Among other possible assets, Red Lion
14   has learned that FCMA wholly and directly owns a $25,000,000 payment obligation
15   on a loan from StHealth Capital Partners Group, LLC (“StHealth”). Wilcox Decl.,
16   Ex. F at 37:1-39:5 (Singal Debtor examination); see also Wilcox Decl., Ex. K at
17   17:11-20:25 (Singal/JFURTI examination).
18            2.        SRS, LLC
19            SRS is a wholly owned subsidiary of FCMA. Wilcox Decl., Ex. Q (SEC Filing
20   205-206 n.10). Because FCMA wholly owns SRS, and the Trust is the sole member
21   of FCMA, the Trust owns and controls SRS.
22            A SEC Filing dated January 30, 2019, by FC Global Realty, Inc. – an entity
23   that was then proposing to merge with Gadsen Growth Properties, Inc. (“Gadsen”) –
24

25            6
           According to the website Trulia, the couple’s 5,000 square foot home in El
26 Dorado Hills is zoned for three excellent schools. Wilcox Decl., Ex. Y.
         7
           Public SEC filings are required to be truthful and are routinely accepted as
27 evidence in Court proceedings. See e.g., StorMedia, Inc. v. Superior Court, 20 Cal.
   4th 449, 456, n.9 (1999) (taking judicial notice of a proxy statement and registration
28 statement filed with the SEC).

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 1   shows that as of that date, SRS (and therefore, the Trust) owned or had the right to
 2   receive 9.1% of the common stock of Gadsen. Wilcox Decl., Ex. Q. This amounts
 3   to 481,004 shares, which Singal has testified is currently trading at $10 per share.
 4   Wilcox Decl., Ex. K at 103:1-3.
 5   E.       State Court Judgments and Charging Orders in Other Matters
 6            At least two holders of judgments against Singal and/or his entities have sought
 7   and obtained charging orders against the Trust’s interests in FCMA and SRS.
 8            1.        JFURTI Judgment
 9            Judgment Creditor JFURTI obtained a judgment of more than $21 million
10   against Singal and some of his entities in the Supreme Court of the State of New
11   York. JFURTI sought and obtained entry of judgment in the California Superior
12   Court for the County of Sacramento.8 JFURTI has taken many actions in an attempt
13   to collect on the judgment, including – as relevant here – obtaining an order charging
14   Singal’s interest in FCMA and SRS.
15            JFURTI’s Motion for Post-Judgment Relief Order was heard by Superior Court
16   Judge Christopher Krueger, the judge assigned to law and motion for the Sacramento
17   Superior Court, who has substantial experience with post-judgment relief orders.
18   Judge Krueger issued an ordered “Pursuant to Code of Civil Procedure section
19   708.310 and Corporations Code sections 17705.03-04, charging the Ladnier-Singal
20   Family Trust’s (the “Trust”) direct and/or indirect membership interests in First
21   Capital Master Advisor, LLC (“FCMA”) and SRS, LLC (“SRS”) which public SEC
22   filings show to be wholly owned by the trust.” Wilcox Decl., Ex. R (May 14, 2019
23   Minute Order). Judge Krueger explained that “JFURTI submits an incomplete copy
24   of the Trust Agreement showing that the Trust is a [sic] revocable. Singal, on the
25   other hand, proffers no evidence disputing that the Trust is revocable. The Court,
26   therefore, concludes that the Trust is valid and revocable.” Id.
27

28            8
                  JFURTI LLC v. Suneet Singal, Case No. 34-2018-00227994-CU-EN-DGS.
                                                                          DAVIS WRIGHT TREMAINE LLP
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 1            2.        Burns Judgment
 2            Judgment Creditors Derrick Burns and Vince Nakayama obtained a stipulated
 3   judgment against Singal for $812,375.00 in January 2019. After Singal failed to pay
 4   the judgment as agreed, Burns and Nakayama moved for post-judgment relief
 5   including a charging order against Singal’s membership interest in FCMA and SRS
 6   in the California Superior Court for the County of San Mateo. Wilcox Decl., Ex. S
 7   (May 10, 2019 Motion for Post-Judgment Relief, Burns et al. v. Singal et al., Case
 8   No. 17CIV02547). Burns argued that the Trust was revocable and therefore the
 9   interest was chargeable. Id. at p. 4-5. Singal argued that the Trust could not be
10   reached because it was irrevocable. Wilcox Decl., Ex. N at 4:13-5:1.
11            The San Mateo Superior Court found the Trust is revocable, pointing to the
12   decision and Order of the Sacramento County Superior Court. Wilcox Decl., Ex. T.
13   The San Mateo Superior Court concluded that the “evidence indicates Singal and his
14   wife created the Trust in December 2015 expressly as a revocable trust, when they
15   reserved to themselves (the Trustors) the right to withdraw property from the Trust
16   estate and revoke the Trust agreement.” Id. In response to Singal’s argument that
17   the Trust Amendment made the Trust irrevocable, the Court found “that the purported
18   Amendment notarized on 1-31-19 lacks validity, and the Ladnier-Singal Family Trust
19   is revocable.” Id.
20                                       III.   ARGUMENT
21   A.       This Court Applies California Charging Order Procedures
22            When executing a judgment, federal courts apply the procedures of the state in
23   which they are located. FED. R. CIV. P. 69(a); see also La Jolla Bank, FSB v.
24   Tarkanian, No. 13-mc-14 GSA, 2013 WL 3717108 at *1 (E.D. Cal. July 12, 2013).
25   Any court of competent jurisdiction may enter a charging order under California law.
26   Cal. Corp. Code § 15907.03(a).
27            California Code of Civil Procedure section 708.310 provides, in relevant part,
28   that a money judgment against a judgment debtor’s interest in a limited liability
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 1   company may be applied toward the satisfaction of the judgment by an order charging
 2   a judgment debtor’s interest.       See also Cal. Corp. Code § 17705.03(a) (“On
 3   application by a judgment creditor of a member or transferee, a court may enter a
 4   charging order against the transferable interest of the judgment debtor for the
 5   unsatisfied amount of the judgment.”). The charging order constitutes a lien on the
 6   judgment debtor’s interest and requires the LLC to withhold any distributions that
 7   would be made to the judgment debtor and instead pay them to the judgment creditor.
 8   Cal. Corp. Code § 17705.03(a).
 9            A membership interest can be charged even if held in the debtor’s revocable
10   trust. California law is clear that property held in a revocable trust is subject to the
11   claims of creditors and may be used to satisfy a judgment. Cal. Prob. Code § 18200.
12   “There is no distinction in California law between property owned by the revocable
13   trust and property owned by the settlor of such a revocable trust during the lifetime
14   of the settlor.” Carolina Casualty Ins. Co. v. L.M. Ross Law Group, LLP, 184 Cal.
15   App. 4th 196, 208 (2010) (quoting Zanelli v. McGrath, 166 Cal. App. 4th 165, 633
16   (2008)) (internal quotations omitted). This rule exists as “a settlor with the power to
17   revoke a living trust effectively retains full ownership and control over any property
18   transferred to that trust.” Arluk Medical Center Industrial Group, Inc. v. Dobler, 116
19   Cal. App. 4th 1324, 1331-32 (2004).
20   B.       The Evidence Establishes that the Trust Is Revocable
21            In response to past motions, Singal argued that the Trust does not exist or is
22   invalid. E.g., Wilcox Decl., Ex. U at 2:15-3:21. As he now has been forced to
23   concede, that argument has no merit; the Trust exists and it holds substantial, valuable
24   interests in FCMA and SRS, as both Singal and Ladnier now have admitted in sworn
25   testimony. Wilcox Decl., Exs. L at 91:13-93:3, P at 8:16-9:20.
26            Having lost on that argument, Singal has changed tactics. In response to
27   collection efforts by JFURTI and Burns/Nakayama, Singal claimed the Trust was
28   converted from revocable – as it originally was established – to irrevocable. Wilcox
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 1   Decl., Ex. N at 4:13-5:1. As Red Lion establishes infra, Section C, two California
 2   courts have rejected that argument, holding that the Trust is revocable and can be
 3   charged for Singal and Ladnier’s debts, and those decisions control here.
 4            The putative Trust Amendment does not affect Red Lion’s right to reach the
 5   Trust assets. As the Ninth Circuit has explained, “‘[i]t is well-settled that a trust
 6   created for the purpose of defrauding creditors or other persons is illegal and may be
 7   disregarded.’” In re Schwarzkopf, 626 F.3d 1032, 1037 (9th Cir. 2010) (quoting In
 8   re Marriage of Dick, 15 Cal. App. 4th 144, 161 (1993)); see also Cal. Prob. Code
 9   § 15203 (“A trust may be created for any purpose that is not illegal or against public
10   policy.”). Under this clear law, even if Singal could convert the Trust into an
11   irrevocable trust through the Trust Amendment that was not even fully executed until
12   years after it purportedly was signed, the Trust Amendment is voidable because the
13   evidence establishes that it was designed to defraud Singal and Ladnier’s creditors
14   and prevent collection of their assets by attempting to shield the substantial assets
15   held in the Trust from the growing roster of judgment creditors.
16            The Trust itself – at least, the portions that Singal has disclosed – establishes
17   that the Trust is revocable. Wilcox Decl., Ex. I. Ladnier – a California attorney –
18   testified that the Trust is revocable.             Wilcox Decl., Ex. L at 91:13-93:3
19   (JFURTI/Ladnier Examination); see Wilcox Decl., Ex. G at 8:3-24. The putative
20   Trust Amendment on which Singal hangs his hat is dated December 14, 2015 – the
21   same day as the Trust – but that date is clearly meaningless as shown by the notary
22   signature, which occurred on January 31, 2019, after all of the judgments, including
23   the Judgment at issue here, were entered, and in the midst of JFURTI’s assertive
24   collection efforts.            Wilcox Decl., Exs. B (Red Lion Judgment), I (the Trust
25   Amendment), X. The Trust itself was notarized contemporaneously with its creation,
26   yet the notarization of the Trust Amendment occurred more than three years after
27   Singal and Ladnier claim to have signed it. Wilcox Decl., Exs. H, I. Singal and
28   Ladnier have never offered a credible explanation for why they would have amended
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 1   the Trust on the same day they signed it – purportedly fundamentally changing its
 2   nature and their right to the substantial assets that would be transferred to it.
 3            Just as importantly, the evidence is clear that the Trust is operated by Singal to
 4   this day. Neither of the new trustees is independent – one is Singal’s friend and
 5   business partner, the other is Ladnier’s mother. Wilcox Decl., Ex. M at 16:5-6,
 6   23:5-17. The fraudulent role of the putative trustees was exposed recently when one
 7   of them made clear during his post-judgment examination that he has no knowledge
 8   of and plays no role whatsoever in administration of the Trust. Goodwin testified
 9   that he is not sure when he became a trustee of the Trust; had never seen the Trust
10   documents before; he has never transacted any business on behalf of the Trust; he has
11   no knowledge of any bank accounts held by the Trust (other than a vague memory
12   about an investment account statement he may once have seen in Singal’s office); he
13   has never communicated with anyone regarding the Trust; he has never discussed the
14   Trust with anyone other than Singal; and he has no idea how decisions are made
15   regarding the administration of the Trust. Wilcox Decl., Ex. M at 24:1-26:22, 30:22-
16   31:12. In contrast – in an apparent attempt to portray Goodwin and DeVries as
17   independent trustees – Singal has testified that Goodwin and DeVries control the
18   bank accounts of FCMA. Wilcox Decl., Ex. O at 9:21-10:3. Perhaps realizing too
19   late the inconsistency of his testimony, Singal later testified that FCMA did not have
20   any bank accounts – only to be confronted with payments made to Ladnier from an
21   FCMA account – and forced to admit that FCMA does some banking. Wilcox Decl.,
22   Ex. P at 54:16-55:7.
23            The evidence establishes – as two California courts have found – the Trust is
24   revocable. Singal and Ladnier’s attempts to protect their substantial assets from their
25   creditors was fraudulent and voidable. This Court should find, as well, and issue its
26   Order charging the Trust assets for the debt owed to Red Lion.
27

28

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 1   C.       The State Court Orders Are Binding on Singal and Ladnier
 2            This Court should find that the Trust assets are available to creditors for the
 3   additional reason that Singal and Ladnier are precluded from arguing otherwise. Two
 4   California courts have held that the Trust is revocable and its membership interests
 5   are chargeable. Wilcox Decl., Exs. R, T. As the U.S. Supreme Court has held, “a
 6   federal court must give to a state-court judgment the same preclusive effect as would
 7   be given that judgment under the law of the State in which the judgment was
 8   rendered.” Migra v. Warren City School Dist. Bd. Of Educ., 465 U.S. 75, 81 (1984)
 9   (emphasis added). And California law is clear that “a party ordinarily may not
10   relitigate an issue that he fully and fairly litigated on a previous occasion.” In re
11   Marriage of Boblitt, 223 Cal. App. 4th 1004, 1028 (2014) (quoting Benasra v.
12   Mitchell, Silberberg & Knupp, 96 Cal. App. 4th 96, 104 (2002)) (internal quotations
13   omitted).
14            Under California law, issue preclusion applies “(1) after final adjudication
15   (2) of an identical issue (3) actually litigated and necessarily decided in the first suit
16   and (4) asserted against one who was a party in the first suit or one in privity with
17   that party.”          DKN Holdings LLC v. Faerber, 61 Cal. 4th 813, 825 (2015).
18   Importantly, the party asserting issue preclusion – Red Lion – need not have been a
19   party to the first suit. Id. at 824 (“[u]nlike claim preclusion, issue preclusion can be
20   raised by one who was not a party or privy in the first suit.”).
21            Here, each of the elements of issue preclusion has been met. Two different
22   courts have ruled that the Trust must be treated as revocable, and its assets are
23   available to Singal and Ladnier’s judgment creditors. Wilcox Decl., Exs. R, T. Singal
24   and Ladnier were parties to the previous cases. Id. The question of whether Trust
25   assets are chargeable was the subject of both motions and Singal and Ladnier opposed
26   the issue in both. Wilcox Decl., Exs. U at p. 2-5, N at p. 4-6. In each case, the courts
27   rejected Singal and Ladnier’s arguments, holding the evidence supports a finding that
28   the Trust was revocable and its assets are available to creditors pursuant to California
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 1   Probate Code section 18200. Wilcox Decl., Exs. R at p. 2-3, T. Singal and Ladnier
 2   therefore should not be allowed to argue that the Trust assets are not chargeable.
 3   D.       Red Lion Is Entitled to an Order Charging the Interests of Both FCMA
 4            and SRS
 5            As explained above, FCMA is controlled by the Trust which wholly owns SRS.
 6   Section II.C, supra. Thus, the Court’s charging order should extend to both entities.
 7            First, because the Trust is revocable, creditors may reach the assets its holds.
 8   Under California Probate Code section 18200, “[i]f the settlor retains the power to
 9   revoke the trust in whole or in part, the trust property is subject to the claims of
10   creditors of the settlor to the extent of the power of revocation during the lifetime of
11   the settlor.” Therefore, an order charging the membership interest in FCMA is
12   appropriate just as if Singal and Ladnier held the interest in their individual capacities.
13   See Zanelli v. McGrath, 166 Cal. App. 4th 615, 633 (2008) (“Property transferred to,
14   or held in, a revocable inter vivos trust is nonetheless deemed the property of the
15   settlor and is reachable by the creditors of the settlor.”). Thus, this Court can and
16   should issue a charging order as to all of FCMA’s assets.
17            Second, this Court also is authorized to issue a charging order against FCMA’s
18   wholly owned               subsidiary,   SRS.    Under   California   Corporations              Code
19   section 17705.03(b)(2), “[t]o the extent necessary to effectuate the collection of
20   distributions pursuant to a charging order in effect… the court may do the following:
21   … (2) Make all other orders necessary to give effect to the charging order.” This
22   statute gives courts broad leeway to construct charging orders that effectively reach
23   the debtor’s assets. Cf., Phillips, Spallas & Angstadt, LLP v. Fotouhi, 197 Cal. App.
24   4th 1132, 1141-42 (2011) (applying similar statute to issue charging order against
25   partnership and related corporation (citing Cal. Corp. Code § 16504(a); Cal. Code
26   Civ. Proc. § 187)). Thus, this Court’s Order can and should reach SRS, and all of its
27   assets, as well.
28

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 1   E.       The Court Should Assign FCMA and SRS’s Interest in Assets to Red
 2            Lion, to Satisfy Its Registered Judgment
 3            Because charging orders alone are often ineffective, Courts routinely also
 4   impose an enforcement mechanism. See Alan M. Ahart, California Practice Guide:
 5   Enforcement of Judgment and Debt ¶ 6:1467 (THE RUTTER GROUP, June 2019) (“A
 6   charging order without an enforcement mechanism is likely of little value.”). Thus,
 7   “upon application of the judgment creditor on noticed motion, the court may order
 8   the judgment debtor to assign to the judgment creditor … all or part of a right to
 9   payment due or to become due, whether or not the right is conditioned on future
10   developments.” Cal. Code Civ. Proc. § 708.510(a).
11            When determining whether an assignment order is appropriate, the Court has
12   discretion to take into account “all relevant factors” including:
13                      (1) The reasonable requirements of a judgment debtor who
                        is a natural person and of persons supported in whole or in
14                      part by the judgment debtor.
15                      (2) Payments the judgment debtor is required to make or
                        that are deducted in satisfaction of other judgment and
16                      wage assignments, including earnings assignment orders
                        for support.
17
                        (3) The amount remaining on the money judgment.
18
                        (4) The amount being or to be received in satisfaction of the
19                      right to payment that may be assigned.
20   Cal. Code Civ. Proc. § 708.510(c).
21            Applying these factors supports Red Lion’s request for an assignment order.
22   Singal testified that he is not relying on the assets at issue in this Motion; instead his
23   extravagant lifestyle allegedly is currently being supported by friends.                            See
24   Section II.C, supra. Wilcox Decl., Ex. F at 28:1-29:12, 79:15-22. Red Lion’s
25   judgment is for $1.3 million, and while these assets purportedly are for a much greater
26   amount, other creditors already are attempting to reach these assets to recover their
27   own judgments – supported by assignment orders already entered for their benefit.
28   Wilcox Decl., Exs. R, T. Assignment of these assets would allow Red Lion to
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 1   participate with other judgment creditors in attempting to satisfy its judgment against
 2   Singal and Ladnier.
 3            Pursuant to Section 708.510, the Court should grant Red Lion’s request for an
 4   order assigning – to the extent necessary to satisfy the judgment – FCMA’s interest
 5   in the StHealth obligation and SRS/FCMA’s interest in the Gadsen shares.
 6                                      IV.   CONCLUSION
 7            California law fully supports the Order that Red Lion seeks here, charging
 8   Singal’s and Ladnier’s interest in FCMA and SRS to satisfy Red Lion’s judgment.
 9   As set forth above, Singal and Ladnier, through the revocable Trust, own both FCMA
10   and SRS; these entities already are being charged by other creditors; and Red Lion’s
11   enforceable judgment, registered in this Court, has not been satisfied.
12            Accordingly, pursuant to Code of Civil Procedure section 708.310 and
13   California Corporations Code section 17705.03, Red Lion respectfully requests an
14   order charging the membership interests in First Capital Master Advisors, LLC and
15   SRS, LLC and an order assigning the assets held by those entities to Red Lion.
16

17   DATED: July 2, 2019                       DAVIS WRIGHT TREMAINE LLP
                                               MARY H. HAAS
18                                             ROCHELLE WILCOX
                                               MATTHEW C. ONYETT
19

20

21                                             By:             s/Rochelle L. Wilcox
                                                               Rochelle Wilcox
22                                                   rochellewilcox@dwt.com
23
                                                     Attorneys for Plaintiff
24                                                   RED LION HOTELS FRANCHISING,
25                                                   INC.

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 1                             DECLARATION OF ROCHELLE WILCOX
 2

 3            I, Rochelle Wilcox, declare and state as follows:
 4            1.        I am an attorney licensed to practice law before the courts of the State of
 5   California and before this Court. I am a partner with the law firm of Davis Wright
 6   Tremaine LLP, counsel of record for Plaintiff Red Lion Hotels Franchising, Inc. (“Red
 7   Lion”). I have personal knowledge of the facts stated herein, except to those facts
 8   offered based on my information and belief as stated, and if sworn as a witness, could
 9   and would so testify thereto.
10            2.        Attached as Exhibit A is a true and correct copy of a judgment obtained
11   by Red Lion Hotels Franchising, Inc. in the United States District Court for the Eastern
12   District of Washington, dated September 6, 2018.
13            3.        Attached as Exhibit B is a true and correct copy of the Request for
14   Registration of District Court Judgment Rendered in Another District filed in this
15   Court by Red Lion on October 25, 2018.
16            4.        [Paragraph intentionally left blank]
17            5.        Attached as Exhibit C is a true and correct copy of a Writ of Execution
18   filed in this Court by Red Lion on March 6, 2019.
19            6.        Attached as Exhibit D is a true and correct copy of a civil subpoena and
20   proof of service to appear in person and to produce records, which establishes that it
21   was served on Suneet Singal on April 29, 2019.
22            7.        Attached as Exhibit E is a true and correct copy of a civil subpoena and
23   proof of service to appear in person and to produce records, which establishes that it
24   was served on Majique Ladnier on May 4, 2019. While some documents responsive
25   to the specific requests were produced, the requests have mostly been ignored.
26            8.        Attached as Exhibit F is a true and correct copy of the Reporter’s
27   Transcript for a Debtor’s Examination of Suneet Singal conducted on May 17, 2019
28   by my colleague Mary Haas, Esq., counsel for Red Lion. While some documents
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 1   responsive to the specific requests were produced, the requests have mostly been
 2   ignored.
 3            9.        Attached as Exhibit G is a true and correct copy of the Reporter’s
 4   Transcript for a Debtor’s Examination of Majique Ladnier conducted on May 17, 2019
 5   by Ms. Haas, counsel for Red Lion.
 6            10.       Attached as Exhibit H is a true and correct copy of the Ladnier-Singal
 7   2015 Trust attached as Exhibit B to the June 21, 2019 Debtor’s Examination of Suneet
 8   Singal in connection to the JFURTI litigation (which I attended to observe).
 9            11.       Attached as Exhibit I is a true and correct copy of the document
10   purporting to be the Amendment to the Ladnier-Singal 2015 Trust attached as
11   Exhibit C to the June 21, 2019 Debtor’s Examination of Suneet Singal in connection
12   to the JFURTI litigation (which I attended to observe).
13            12.       Attached as Exhibit J is a true and correct copy of the online docket for
14   Sacramento Superior Court Case No. 34-2018-00227994-CU-EN-DGS titled JFURTI
15   LLC v. Suneet Singal et al., the “FJURTI Litigation.”
16            13.       Attached as Exhibit K is a true and correct copy of excerpts from the
17   Reporter’s Transcript of a Debtor’s Examination of Suneet Singal, which I am
18   informed and believe was conducted on February 1, 2019 in connection with the
19   JFURTI litigation.
20            14.       Attached as Exhibit L is a true and correct copy of excerpts from the
21   Reporter’s Transcript of a Debtor’s Examination of Majique Ladnier, which I am
22   informed and believe was conducted on November 30, 2018 in connection to the
23   JFURTI litigation.
24            15.       Attached as Exhibit M is a true and correct copy of excerpts from the
25   Reporter’s Transcript of a Debtor’s Examination of Stephen Goodwin, which was
26   conducted on June 21, 2019 in connection to the JFURTI Litigation (and which I
27   attended to observe).
28

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 1            16.       Attached as Exhibit N is a true and correct copy of Suneet Singal and
 2   First Capital Real Estate Investments, LLC’s Memorandum of Points and Authorities
 3   in Opposition to Plaintiffs’ Motion for Post-Judgment Relief filed on April 26, 2019
 4   in San Mateo Superior Court in Case No. 17CIV02547, Burns et al. v. Suneet Singal
 5   et al., the “Burns Litigation.”
 6            17.       Attached as Exhibit O is a true and correct copy of excerpts from the
 7   Reporter’s Transcript of a Debtor’s Examination of Suneet Singal, which I am
 8   informed and believe was conducted on April 5, 2019 in connection to the JFURTI
 9   litigation. This transcript was attached as Exhibit D to the June 21, 2019 Debtor’s
10   Examination of Suneet Singal in connection to the JFURTI litigation (which I attended
11   to observe).
12            18.       Attached as Exhibit P is a true and correct copy of excerpts from the
13   Reporter’s Transcript of a Debtor’s Examination of Suneet Singal, which was
14   conducted on June 21, 2019 in connection to the JFURTI litigation (and which I
15   attended to observe).
16            19.       Attached as Exhibit Q is a true and correct copy of excerpts from
17   Amendment No. 2 to the S-4 filed by FC Global Realty Incorporated with the
18   Securities and Exchange Commission on or about January 30, 2019.
19            20.       Attached as Exhibit R is a true and correct copy of the May 14, 2019
20   Minute Order granting JFURTI’s motion for post-judgment relief in Sacramento
21   Superior Court Case No. 34-2018-00227994-CU-EN-DGS titled JFURTI LLC v.
22   Suneet Singal et al.
23            21.       Attached as Exhibit S is a true and correct copy of the May 10, 2019
24   Amended Memorandum of Points and Authorities in support of Motion for
25   Post-Judgment Relief, Burns et al. v. Singal et al., San Mateo County Superior Court
26   Case No. 17CIV02547.
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                                                                         LOS ANGELES, CALIFORNIA 90017-2566
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     4828-3306-8698v.5 0088456-000079                                               Fax: (213) 633-6899
      Case 2:18-mc-00161-TLN-DB Document 19 Filed 07/02/19 Page 25 of 28

 1            22.       Attached as Exhibit T is a true and correct copy of the online docket for
 2   San Mateo Superior Court Case No. 17CIV02547, reflecting the Court’s order
 3   granting Plaintiffs’ Motion for Post-Judgment Relief.
 4            23.       Attached as Exhibit U is a true and correct copy of Suneet Singal’s
 5   Memorandum and Points and Authorities in Opposition to JFURTI, LLC’s
 6   Consolidated Motion for Post-Judgment Relief filed on May 1, 2019.
 7            24.       Attached as Exhibit V is a true and correct copy of Red Lion’s Statement
 8   of Facts in support of its Motion for Summary Judgment filed on June 5, 2018 in case
 9   no. 2:17-cv-145 RMP in the United Stated District Court for the Eastern District of
10   Washington.
11            25.       Attached as Exhibit W is a true and correct copy of the Declaration of
12   Suneet Singal in support of Defendants’ Opposition to Plaintiffs’ Motion for
13   Post-Judgment Relief filed on April 26, 2019 in San Mateo Superior Court Case
14   No. 17CIV02547, Burns et al. v. Suneet Singal et al.
15            26.       Attached as Exhibit X is at true and correct copy of the Memorandum of
16   Points and Authorities in Support of JFURTI, LLC’s Consolidated Motion for
17   Post-Judgment Relief filed on April 9, 2019 in Sacramento Superior Court Case
18   No. 34-2018-00227994-CU-EN-DGS titled JFURTI LLC v. Suneet Singal et al.
19            27.       Attached as Exhibit Y is a true and correct copy of information for the
20   Singal’s residence, 512 Alta Vista Ct., El Dorado Hills, CA 95762, which I accessed
21   at trulia.com on June 27, 2019.
22            28.       Attached as Exhibit Z is a true and correct copy of a document titled
23   “Assignment of LLC Membership Sale Consideration” dated March 1, 2018. This
24   document was attached as Exhibit F to the April 5, 2019 Debtor’s Examination of
25   Suneet Singal.
26

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                                                                            DAVIS WRIGHT TREMAINE LLP
                                                   18                          865 S. FIGUEROA ST, SUITE 2400
                                                                            LOS ANGELES, CALIFORNIA 90017-2566
     MOTION FOR CHARGING ORDER                                                           (213) 633-6800
     4828-3306-8698v.5 0088456-000079                                                  Fax: (213) 633-6899
      Case 2:18-mc-00161-TLN-DB Document 19 Filed 07/02/19 Page 26 of 28

 1            I declare under penalty of perjury under the laws of the State of California and
 2   the United States that the foregoing is true and correct and that this declaration was
 3   executed on July 2, 2019, in Roseville, California.
 4

 5                                                       s/Rochelle L. Wilcox
                                                             ROCHELLE WILCOX
 6                                                          rochellewilcox@dwt.com
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                                                                          DAVIS WRIGHT TREMAINE LLP
                                                19                          865 S. FIGUEROA ST, SUITE 2400
                                                                         LOS ANGELES, CALIFORNIA 90017-2566
     MOTION FOR CHARGING ORDER                                                        (213) 633-6800
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      Case 2:18-mc-00161-TLN-DB Document 19 Filed 07/02/19 Page 27 of 28

 1                                 PROOF OF SERVICE BY HAND DELIVERY
                                                (Secretary)
 2

 3          I am employed in the County of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
 4   2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.
 5           On July 2, 2019 I caused the following documents described as: NOTICE OF MOTION
     AND MOTION FOR ORDER CHARGING DEBTORS’ MEMBERSHIP INTEREST IN
 6   TWO WHOLLY OWNED LIMITED LIABILITY COMPANIES AND ASSIGNING
     ASSETS; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF;
 7   DECLARATION OF ROCHELLE WILCOX AND EXHIBITS A–Z to be served on all other
     parties to this action by requesting that a messenger from Nationwide Legal deliver true copies of
 8   the above-named documents, enclosed in sealed envelopes addressed as follows:
 9    First Capital Real Estate Investments, LLC          Suneet Singal
      c/o Suneet Singal agent for service                 512 Alta Vista Ct.
10    2355 Gold Meadow Way, Suite 160                     El Dorado Hills, CA 95762-9417
      Gold River CA 95670
11
      First Capital Master Advisor, LLC                   Suneet Singal
12    60 Broad Street, 34th Floor                         2355 Gold Meadow Way, Suite 160
      New York, NY 10004                                  Gold River CA 95670
13
      First Capital Master Advisor, LLC                   Majique Ladnier
14    c/o VCORP Services, LLC agent for service           512 Alta Vista Ct.
      1013 Centre Road, Suite 403-B                       El Dorado Hills, CA 95762-9417
15    Wilmington, DE 19805
16    SRS, LLC                                            Suneet Singal as Trustee of
      2355 Gold Meadow Way, Suite 160                     the Ladnier-Singal Family Trust
17    Gold River CA 95670                                 512 Alta Vista Ct.
                                                          El Dorado Hills, CA 95762-9417
18
      Jeannine DeVries, as Trustee of                     Majique Ladnier, as Trustee of
19    the Ladnier-Singal Family Trust                     the Ladnier-Singal Family Trust
      4344 Greenwich Cir                                  512 Alta Vista Ct.
20    Sacramento, CA 95823                                El Dorado Hills, CA 95762-9417
21    Steven Goodwin, as Trustee of
      the Ladnier-Singal Family Trust
22    3230 Fieldcrest Drive
      Sacramento, CA 95821
23

24            Executed on July 2, 2019 at Los Angeles, California.
25          Federal         I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office of a member of
26   the bar of this Court at whose direction the service was made.
27
                               Monica Davis
28                              Print Name                                   Signature
                                                                                 DAVIS WRIGHT TREMAINE LLP
                                                     20                             865 S. FIGUEROA ST, SUITE 2400
                                                                                 LOS ANGELES, CALIFORNIA 90017-2566
     MOTION FOR CHARGING ORDER                                                                (213) 633-6800
     4828-3306-8698v.5 0088456-000079                                                       Fax: (213) 633-6899
      Case 2:18-mc-00161-TLN-DB Document 19 Filed 07/02/19 Page 28 of 28

 1                                      PROOF OF SERVICE BY MAIL
 2    Joshua D. Brinen, Esq.                              Robert M. Merritt, Esq.
      Brinen & Associates LLC                             Law Offices of Robert M. Merritt, APC
 3    90 Broad Street, FL 2                               601 University Avenue, Suite 141
      New York, NY 10004-3313                             Sacramento, CA 95825
 4

 5           I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
     States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for collecting
 6   and processing correspondence for mailing with the United States Postal Service. I am familiar
     with the office practice of Davis Wright Tremaine LLP, for collecting and processing
 7   correspondence for mailing with the United States Postal Service, which practice is that when
     correspondence is deposited with the Davis Wright Tremaine LLP, personnel responsible for
 8   delivering correspondence to the United States Postal Service, such correspondence is delivered to
     the United States Postal Service that same day in the ordinary course of business.
 9
              Executed on July 2, 2019 at Los Angeles, California.
10
            Federal         I declare under penalty of perjury under the laws of the United States of
11   America that the foregoing is true and correct and that I am employed in the office of a member of
     the bar of this Court at whose direction the service was made.
12

13                             Monica Davis
                                Print Name                                   Signature
14

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                                                                                 DAVIS WRIGHT TREMAINE LLP
                                                     21                             865 S. FIGUEROA ST, SUITE 2400
                                                                                 LOS ANGELES, CALIFORNIA 90017-2566
     MOTION FOR CHARGING ORDER                                                                (213) 633-6800
     4828-3306-8698v.5 0088456-000079                                                       Fax: (213) 633-6899
